8:06-cr-00376-LSC-FG3        Doc # 164     Filed: 07/03/07     Page 1 of 1 - Page ID # 655




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                     )              CASE NO. 8:06CR376
                                              )
                     Plaintiff,               )
                                              )
              vs.                             )                     ORDER
                                              )
NICHOLE BITTNER,                              )
                                              )
                     Defendant.               )

       This matter is before the Court on the unopposed motion to continue the sentencing

hearing filed by the Defendant, Nichole Bittner (Filing No. 163).

       IT IS ORDERED:

       1.     The Defendant’s motion to continue the sentencing hearing (Filing No. 163)

              is granted; and

       2.     The sentencing hearing previously scheduled for Thursday, July 5, 2007, at

              1:00 p.m. is cancelled, and the hearing is rescheduled to Monday, July 30,

              2007, at 2:00 p.m.

       DATED this 3rd day of July, 2007.

                                           BY THE COURT:

                                           s/ Laurie Smith Camp
                                           United States District Judge
